                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                             DOCKET NO. 3:03-cr-00205-FDW
 UNITED STATES OF AMERICA,                      )
                                                )
 vs.                                            )
                                                )
 SHAWN ANTONIO WILEY,                           )                     ORDER
                                                )
        Defendant.                              )
                                                )

       THIS MATTER is before the Court on Defendant’s pro se Motion for Compassionate

Release (Doc. No. 37).

       The Court hereby ORDERS the Government to respond to Defendant’s motion. The

Government shall have sixty (60) days from the date of this Order to file its response with the

Court. The Government shall advise the United States Probation Office if the Government

believes a supplemental Presentence Investigation Report will be required.

       IT IS SO ORDERED.



                                      Signed: May 27, 2020




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